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                       IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF OHIO – Cincinnati Division
HUNTER DOSTER, et. al.                      :       Case No.: 1:22-cv-00084

        Plaintiff                           :

v.                                          :

Hon. FRANK KENDALL, et. al.                 :

        Defendants                          :

            ORDER GRANTING MOTION FOR ADMISSION PRO HAC VICE
        The motion for permission to practice the above captioned matter pro hac vice, by Aaron

Siri is hereby GRANTED.

IT IS SO ORDERED:



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United States District Judge
